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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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      UNITED STATES OF AMERICA,                                  Case No. CR20-184RSL
10
                            Plaintiff,                           ORDER GRANTING
11
                       v.                                        AGREED MOTION TO
12                                                               CONTINUE TRIAL DATE
      PAUL HAMILTON,                                             AND PRETRIAL MOTIONS
13
                            Defendant.                           DEADLINE
14
15
16         This matter comes before the Court on defendant’s “Agreed Motion to Continue Trial
17 Date and Pretrial Motions Deadline.” (Dkt. # 29.) Having considered the facts set forth in the
18 motion, and defendant’s knowing and voluntary waiver (Dkt. # 29-2), the Court finds as
19 follows:
20         1.      The Court adopts the facts set forth in the agreed motion: in particular, that current
21 defense counsel was appointed on November 15, 2021 to take over defendant’s representation
22 after defendant’s prior counsel was forced to withdraw, and current defense counsel requires
23 additional time to review discovery materials and perform tasks necessary to prepare for trial.
24 The Court accordingly finds that a failure to grant a continuance would deny counsel, and any
25 potential future counsel, the reasonable time necessary for effective preparation, taking into
26 account the exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
27         2.      The Court finds that a failure to grant a continuance would likely result in a
28 miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
     ORDER GRANTING AGREED MOTION TO
     CONTINUE TRIAL - 1
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 1          3.      The Court finds that the additional time requested between December 6, 2021, and
 2 the proposed trial date of April 11, 2022, is a reasonable period of delay. The Court finds that
 3 this additional time is necessary to provide defense counsel reasonable time to prepare for trial,
 4 as defendant has requested more time to prepare for trial, to continue to investigate the matter, to
 5 gather evidence material to the defense, and to consider possible defenses. The additional time
 6 requested between the current trial date and the new trial date is necessary to provide counsel for
 7 the defendant the reasonable time necessary to prepare for trial, considering all the facts set forth
 8 above.
 9          4.      The Court further finds that this continuance would serve the ends of justice, and
10 that these factors outweigh the best interests of the public and defendant in a speedier trial,
11 within the meaning of 18 U.S.C. § 3161(h)(7)(A).
12          5.      Defense counsel, with defendant’s consent, has signed a waiver indicating that
13 defendant has been advised of his right to a speedy trial and that, after consulting with counsel,
14 defendant has knowingly and voluntarily waived that right and consented to the continuation of
15 his trial to a date up to and including April 30, 2022, Dkt. # 29-2, which will permit his trial to
16 start on April 11, 2022.
17          IT IS HEREBY ORDERED that the trial date shall be continued from December 6,
18 2021 to April 11, 2022, and pretrial motions are to be filed no later than February 28, 2022;
19          IT IS FURTHER ORDERED that the period of time from the current trial date of
20 December 6, 2021, up to and including the new trial date, shall be excludable time pursuant to
21 the Speedy Trial Act, 18 U.S.C. § 3161, et seq. The period of delay attributable to this filing
22 and granting of this motion is excluded for speedy trial purposes pursuant to 18 U.S.C.
23 §§ 3161(h)(1)(D), (h)(7)(A), and (h)(7)(B).
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     ORDER GRANTING AGREED MOTION TO
     CONTINUE TRIAL - 2
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 1       DATED this 30th day of November, 2021.
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 4                                            A
                                              Robert S. Lasnik
 5                                            United States District Judge
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     ORDER GRANTING AGREED MOTION TO
     CONTINUE TRIAL - 3
